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Attorneys for Defendant Hayes Tax & Accounting Services, Inc.

                           UNITED STATES DISTRICT COURT
                                DISTRICT OF IDAHO


 MARIA ANGELICA “ANGIE”                             Case No. 4:19-CV-00287-BLW
 CARBAJAL,

                           Plaintiff,               DEFENDANT HAYES TAX &
                                                    ACCOUNTING SERVICES, INC.’S
          v.                                        ANSWER TO SECOND AMENDED
                                                    COMPLAINT AND DEMAND FOR
 HAYES MANAGEMENT SERVICES, INC.;                   JURY TRIAL
 HAYES TAX & ACCOUNTING
 SERVICES, INC.; and CHRIS HAYES,

                        Defendants.


       Defendant Hayes Tax & Accounting Services, Inc. (“Hayes Tax”), by and through its

counsel of record, Shelly H. Cozakos of the firm Cozakos & Centeno, PLLC, answers Plaintiff’s

Second Amended Complaint and Demand for Jury Trial (“Complaint”) as follows:

                                        FIRST DEFENSE

       Defendant Hayes Tax denies each and every allegation not specifically admitted in this

Answer.




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                                        SECOND DEFENSE

       Plaintiff’s Complaint fails to state a cause of action against Hayes Tax in which relief can

be granted.

                                 RESPONSE TO ALLEGATION

       1.       In answer to paragraphs 1, 2, 3 and 4 of the Complaint, Hayes Tax has insufficient

information or knowledge to respond to these allegations and therefore denies the same.

       2.       In answer to paragraph 5 of the Complaint, Hayes Tax admits that Defendant Hayes

Management Services, Inc. is an Idaho corporation doing business in Bonneville County, Idaho

and that Hayes Tax purchased some of the assets of Hayes Management Services. Hayes Tax

denies all remaining allegations.

       3.       In answer to paragraph 6 of the Complaint, Hayes Tax admits that it is an Idaho

corporation doing business in Bonneville County, Idaho.          Hayes Tax denies all remaining

allegations.

       4.       In answer to paragraphs 7, 8 and 9 of the Complaint, Hayes Tax has insufficient

information or knowledge to respond to these allegations and therefore denies the same.

       5.       In response to paragraph 10, Hayes Tax realleges and reincorporates all of its

answers to all referenced paragraphs.

       6.       In answer to paragraphs 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25,

26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, and 48 of the

Complaint, Hayes Tax has insufficient information or knowledge to respond to these allegations

and therefore denies the same.




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       7.       In answer to paragraph 49 of the Complaint, Hayes Tax admits the allegations

contained therein.

       8.       In answer to paragraph 50 of the Complaint, Hayes Tax denies the allegations

contained therein.

       9.       In answer to paragraphs 51 and 52 of the Complaint, Hayes Tax admits the

allegations contained therein.

       10.      In answer to paragraph 53 of the Complaint, Hayes Tax admits that Mr. Hayes

executed an Asset Purchase Agreement selling some of Hayes Management’s assets. Hayes Tax

denies all remaining allegations.

       11.      In answer to paragraphs 54, 55 and 56 of the Complaint, Hayes Tax denies the

allegations contained therein.

       12.      In answer to paragraph 57 of the Complaint, Hayes Tax has insufficient information

or knowledge to respond to these allegations and therefore denies the same.

       13.      In answer to paragraphs 58 and 59 of the Complaint, Hayes Tax denies the

allegations contained therein.

       14.      In answer to paragraph 60 of the Complaint, Hayes Tax has insufficient information

or knowledge to respond to these allegations and therefore denies the same.

       15.      In answer to paragraph 61, Hayes Tax realleges and reincorporates all of its

answers to all referenced paragraphs.

       16.      In answer to paragraphs 62, 63, 64, 65, 66, 67, 68, 69, 70 and 71 of the Complaint,

Hayes Tax has insufficient information or knowledge to respond to these allegations and therefore

denies the same.



DEFENDANT HAYES TAX & ACCOUNTING SERVICES, INC.’S ANSWER TO SECOND AMENDED
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        17.    In answer to paragraph 72, Hayes Tax realleges and reincorporates all of its

answers to all referenced paragraphs.

        18.    In answer to paragraphs 73, 74, 75, 76, 77 and 78 of the Complaint, Hayes Tax has

insufficient information or knowledge to respond to these allegations and therefore denies the

same.

        19.    In answer to paragraph 79, Hayes Tax realleges and reincorporates all of its

answers to all referenced paragraphs.

        20.    In answer to paragraphs 80, 81 and 82 of the Complaint, Hayes Tax denies the

allegations contained therein.

        21.    In answer to paragraph 83 of the Complaint, Hayes Tax has insufficient information

or knowledge to respond to these allegations and therefore denies the same.

        22.    In answer to paragraph 84 of the Complaint, Hayes Tax denies the allegations

contained therein.

        23.    In answer to paragraph 85, Hayes Tax realleges and reincorporates all of its

answers to all referenced paragraphs.

        24.    In answer to paragraphs 86, 87 and 88 of the Complaint, Hayes Tax has insufficient

information or knowledge to respond to these allegations and therefore denies the same.

        25.    In answer to paragraph 89, Hayes Tax realleges and reincorporates all of its

answers to all referenced paragraphs.

        26.    In answer to paragraphs 90 and 91 of the Complaint, Hayes Tax denies the

allegations contained therein.




DEFENDANT HAYES TAX & ACCOUNTING SERVICES, INC.’S ANSWER TO SECOND AMENDED
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        27.    In answer to paragraph 92, Attorneys’ Fees, of the Complaint, Hayes Tax denies

the allegations contained therein.

                       RESERVATION OF ADDITIONAL DEFENSES

        Hayes Tax hereby reserves the right and affirmatively state its intention to plead

additional defenses via an Amended Answer to Second Amended Complaint and Demand for

Jury Trial should additional defenses become known throughout the course of discovery in this

case.

                                     FIRST AFFIRMATIVE DEFENSE

        Hayes Tax is not a successor in interest to Hayes Management.

                                  SECOND AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver and estoppel.

                                     THIRD AFFIRMATIVE DEFENSE

        Plaintiff has acted with unclean hands.

                                  FOURTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred by the doctrine of laches.

                               ATTORNEY’S FEES AND COSTS

        Hayes Tax has been required to retain the services of Cozakos & Centeno, PLLC, to

defend it in the above-entitled matter. Hayes Tax has incurred and will continue to incur costs

and attorney fees for which Hayes Tax is entitled to a separate award pursuant to 42 U.S.C §

2000e – 5(c) et seq; Rule 54 of the Federal Rules of Civil Procedure, and any other applicable

law, in an amount to be determined by the Court.

        THEREFORE, Hayes Tax request the Court enter judgment as follows:



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       1.       Dismissing Plaintiff’s Second Amended Complaint and Demand for Jury Trial with

prejudice, without granting any of the relief requested by that document;

       2.       Awarding Hayes Tax its costs, expenses and reasonable attorney’s fees incurred in

defending the Complaint; and

       3.       Granting Hayes Tax such other equitable or legal relief as the Court deems

reasonable, just and proper.

       DATED: July 19, 2021.

                                             COZAKOS & CENTENO, PLLC

                                             By     /s/Shelly H. Cozakos
                                               Shelly H. Cozakos, Of the Firm
                                               Attorneys for Defendant Hayes Tax &
                                               Accounting Services, Inc.




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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 19, 2021, I forwarded a true and correct copy of
the foregoing document to:

 DeAnne Casperson
 dcasperson@workandwage.com

 Amanda E. Ulrich
 aulrich@workandwage.com

 Ryan S. Dustin
 rdustin@workandwage.com



                                                 /s/ Shelly H. Cozakos
                                          Shelly H. Cozakos




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